                                                                                               Case 1:19-cv-00614-JTN-ESC ECF No. 55 filed 10/03/19 PageID.805 Page 1 of 3



                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                                          WESTERN DISTRICT OF MICHIGAN
                                                                                                                               SOUTHERN DIVISION

                                                                                               ANTHONY DAUNT, et al.,

                                                                                                      Plaintiffs,                                     Case No. 1:19-cv-614 (Lead)

                                                                                               v.

                                                                                               JOCELYN BENSON, et al.,

                                                                                                      Defendants.



                                                                                               MICHIGAN REPUBLICAN PARTY, et al.,
DYKEMA GOSSETT PLLC • Capitol View, 201 Townsend Street, Suite 900, Lansing, Michigan 48933




                                                                                                      Plaintiffs,                                     Case No.: 1:19-cv-00669 (Member)

                                                                                               v.
                                                                                                                                                      HON. JANET T. NEFF
                                                                                               JOCELYN BENSON, et al.,

                                                                                                      Defendants.


                                                                                                                    PLAINTIFFS’ MOTION TO EXCEED WORD LIMIT

                                                                                                     Plaintiffs Michigan Republican Party, Laura Cox, Terri Lynn Land, Savina Alexandra Zoe

                                                                                              Mucci, Dorian Thompson, and Hank Vaupel, by and through their counsel, Dykema Gossett PLLC

                                                                                              and Dickinson Wright PLLC, respectfully move this Court for permission to exceed the 10,800-

                                                                                              word limit for a brief filed in opposition to a dispositive motion.

                                                                                                     On August 22, 2019, Plaintiffs filed a Complaint (Member Case, ECF No. 1) against

                                                                                              Defendant Jocelyn Benson, in her official capacity as Secretary of State, alleging constitutional

                                                                                              violations arising under the First and Fourteenth Amendments to the United States Constitution

                                                                                              from the creation and implementation of the redistricting commission established by adoption of
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                                                                                              Michigan Proposal 2 of 2018. Contemporaneously with the Complaint, Plaintiffs filed a Motion

                                                                                              for Preliminary Injunction and Brief in Support (Member Case, ECF Nos. 2 and 3).

                                                                                                     On September 6, 2019, Defendant Voters Not Politicians (“VNP”) intervened as a

                                                                                              Defendant (Member Case, ECF No. 15).

                                                                                                     Thereafter, Defendants filed Requests for a Pre-Motion Conference (Member Case, ECF

                                                                                              Nos. 17, 20), in which they expressed an intention to file Motions to Dismiss under Fed. R. Civ.

                                                                                              Pro. 12.

                                                                                                     On September 11, 2019, the Court entered an Order (Lead Case, ECF No. 30) consolidating

                                                                                              cases and setting deadlines for filing responses to Plaintiffs’ Motion for Preliminary Injunction
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                                                                                              and any replies thereto, and for filing Defendants’ anticipated Motions to Dismiss and responses

                                                                                              and any replies thereto.

                                                                                                     Pursuant to the Court’s Order, on September 19, 2019, Defendants filed their Briefs in

                                                                                              Opposition to Plaintiffs’ Motion for Preliminary Injunction (Lead Case, ECF Nos. 36, 45), as well

                                                                                              as their anticipated Motions to Dismiss (Lead Case, ECF Nos. 37, 48) with accompanying Briefs

                                                                                              (Lead Case, ECF Nos. 38, 49).

                                                                                                     W.D. Mich. LCivR 7.2(b)(i) states that a brief filed in opposition to a dispositive motion

                                                                                              shall not exceed 10,800 words. To avoid unduly burdening the Court with repetitious legal

                                                                                              argument, contemporaneous with this Motion, Plaintiffs have filed a single, consolidated brief

                                                                                              captioned as Plaintiffs’ Consolidated Response to Defendants’ Respective Motions to Dismiss and

                                                                                              Consolidated Reply to Defendants’ Respective Responses to Motion for Preliminary Injunction.

                                                                                                     Due to the complex, constitutional issues raised in this action, Plaintiffs respectfully

                                                                                              request that the Court grant their request to exceed the 10,800-word limit. The Parties agree that

                                                                                              this matter presents only legal issues for the Court, so it is likely that resolution of the pending




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                                                                                              Motions will be highly influential on the outcome of this action. Accordingly, complete briefing

                                                                                              is of the utmost importance.

                                                                                                       Counsel for Plaintiffs sought concurrence from Defendants’ respective counsel, and

                                                                                              concurrence was given.

                                                                                                       Wherefore, Plaintiffs request that the Court grant their Motion to Exceed Word Limit.

                                                                                                                                                      Respectfully submitted,



                                                                                                Dated: October 3, 2019                               /s/ Gary P. Gordon
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